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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                             :
    ALICIA MARSHALL, DANIEL                  :
    PRONSKY, PARIS TOWNSEND,                 :           Case No. 5:21-cv-04337-JMG
    NANCILEE HOLLAND, LEONA                  :
    OWSLEY, KOLAWOLE AHMADOU, :
    KIANA DERVIN, KRISTINA                   :
    HENDERSON, DUSTIN INNIS, KELLY :
    STALNAKER and JAMIE JONES,               :
    individually and on behalf of all others :
    similarly situated,                      :
                                             :
                    Plaintiffs,              :
                                             :
                    v.                       :
                                             :
    PRESTAMOS CDFI, LLC and                  :
    CHICANOS POR LA CAUSA, INC.,             :
                                             :
                    Defendants.              :
                                                 ORDER

       AND NOW, this 1st day of May, 2024, upon consideration of Defendants’ letter to the Court

(ECF No. 103), IT IS HEREBY ORDERED that a hearing shall take place on Thursday, May 23,

2024, at 2:00 p.m. in Courtroom 4B, United Sates District Court located at 504 West Hamilton Street,

Allentown, Pennsylvania 18101. Counsel shall be prepared to describe completed and outstanding

discovery requests, call custodians from the third parties listed in Defendant’s letter (ECF No. 103) to

testify, and discuss the need for an amended scheduling order.

       IT IS FURTHER ORDERED that the parties shall separately provide the Court with outlines

of all completed, outstanding, and anticipated discovery requests by no later than Friday, May 10,

2024. The outlines shall include dates that requests were sent and, if completed, dates received.

                                                      BY THE COURT:


                                                      /s/ John M. Gallagher
                                                      JOHN M. GALLAGHER
                                                      United States District Court Judge
